          Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 1 of 12




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7
              IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
8                            IT„ORTITIE:COLINTY.OFiRITSAP
9           13ARARICHARDS; sigle                                          24- 2- 013'81-18
        in:OM:414
10
                                                         COMPLAINT FOR PERSONAL
11                                                       INjITRY
                              vs
12
        SAFEWAY,INC4 a foreign corporation
13      d/12./a.4106'SAFEWATstild IUMCO
        'ItEAVIT:Q.QR:PQRATIOX:a.:WOigh
14       corporation dlbla ?NlaILVERD4F:
        SHOPPING CENTER.               and DOES
15
        through 5,
16
                                      Defendants.
17

18          COMES NOW                   By atid throqh       undersigned attorneys. Who

19    :allegge ae
20                                           PARTIES
21
            14      At all tigipv teleyap.t hretb, Plaititiff; Batbata Richards (hereafter
22
     referred to as We, Rieliarel;$7) has. 1Seetr   coptiiiges,                m.eldettt of Kiteap.
23
     :Cdo4ty:, Washingitoit
24


     -QMPLAINTFORPERSOWiL tIWJRY4                      :SAN.tHEZ.......
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                                                                             .• :3:000.::t!.3        3.
           Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 2 of 12




1           1.2   Upon information and belief, Plaintiff alleges Defendant Safeway,

2     Inc., (herein after "Safeway") is a foreign corporation that has been doing and
3     continues to do business in Kitsap County, Washington.
4
            1.3   Upon information and belief, Plaintiff alleges Defendant Kimco
5
      Realty Corporation, a foreign corporation d/b/a PK I Silverdale Shopping Center,
6
      LLC, (herein after "Kimco") is a foreign corporation that has been doing and

      continues to do business in Kitsap County, Washington.
8
            1.5   Upon information and belief, Plaintiffs allege Kimco was at all times
9

10    relevant to this Complaint, the owner of certain real property located at 2890 NW

11    Bucklin Hill Rd., Silverdale, WA 98383. Attached hereto and incorporated herein

12    as Exhibit A is a true and accurate copy of the Special Warranty Deed.

13   (hereafter referred to as the "Safeway Lot").
14          1.5   Safeway is physically situated on the Safeway Lot.
15
            1.6   Defendants Does 1 through 5. The remaining Defendants in this
16
      action are persons or entities who are currently unknown to Plaintiff, but who
17
       may be liable for damages to Plaintiff as herein alleged. Said defendants are
18
      designated factiously herein in accordance with Civil Rule 10(a)(2) for Superior
19
      Court. Plaintiff reserves the right to amend the Summons and Complaint herein,
20
      if necessary, to designate the names of said unknown defendants and intends that
21

22
      said amendments relate back to the filing of this complaint.

23   ///

24   ///

     COMPLAINT FOR PERSONAL INJURY -2                 SANCHEZ,MITCHELL,EASTMAN & CURE
                                                                 PSC • Attorneys at Law
                                                              4110 Kitsap Way, Suite 200
                                                           Bremerton, Washington 98312-2401
                                                            T 360.479.3000 F 360.479.3983
         Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 3 of 12




1                           II. JURISDICTION AND VENUE
2          2.1    This is an action for personal injuries. This court has jurisdiction over
3    this action pursuant to R.C.W. 2.08.010.
4
           2.2    As the injuries in question occurred in Kitsap County, and the
5
     Defendants have transacted business in Kitsap County, venue is proper in Kitsap
6
     County.
7
                                        III. FACTS
8
           3.1    On or about Friday, July 5, 2019, Barbara Richards visited the
9

10
     Safeway,in Silverdale, Kitsap County, Washington ("Safeway").

11         3.2    This Safeway has two points of entry for customers.

12         3.3    In between the two entrance points is a concrete space in front of
13   the store that frequently displays promotions and other products (the "walkway
14
     area").
15
           3.4    At the time of the incident, an exposed bolt or screw (the "Bolt")
16
     was protruding vertically from the cement in the walkway area.
17
           3.5    As Ms. Richards approached the Safeway entrance, she was
18

19   walking along the walkway area. The Bolt caught Ms. Richards' shoe and

20   caused her to fall. Since Ms. Richards' fall, the bolt has been ground down to
21   the cement level.
22
           3.6    Ms. Richards had significant pain and injury as a result of this
23
     incident. Ms. Richards ultimately needed surgery for both her knee and hand
24
     as a result of Defendants' negligence.
     COMPLAINT FOR PERSONAL INJURY -3                  SANCHEZ,MITCHELL,EASTMAN & CURE
                                                                   PSC • Attorneys at Law
                                                                4110 Kitsap Way, Suite 200
                                                             Bremerton, Washington 98312-2401
                                                              T 360.479.3000 F 360.479.3983
          Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 4 of 12




 1                           IV. LIABILITY: NEGLIGENCE

2           4.1    For purposes of this cause of action, Plaintiff hereby incorporates by
 3 reference all allegations contained in paragraphs 1.1 through 3.6 above.

4
            4.2    Ms. Richards was a business invitee of the Defendants.
5
           4.3     Defendants Kimco, as the owner of the property, and Safeway as the
6
     possessor of the property, breached their duty of care to Ms. Richards by failing to
7
     make reasonable inspections of the premises to discover dangerous conditions,
8
     failing to warn of these dangerous conditions and, thereafter, ensure the safety of

     their invitees.
10

11          4.4    Employees of the Defendants owed a duty of care to Ms. Richards. They

12 breached this duty by failing to act with reasonable care.

13         4.5     Through the doctrine of vicarious liability, Defendants are responsible

14 for the actions of their employees at Safeway.

15          4.6    But for Defendant& failures to safeguard the premises and warn of
16
     dangerous conditions, Ms. Richards would not have fallen and sustained injuries.
17
            4.7    Defendants' failure to maintain the premises is the direct and
18
      proximate cause of the injuries and damages sustained by Ms. Richards, alleged
19
      herein.
20
                                        V. DAMAGES
21
            5.1    As a direct and proximate result of the negligence alleged herein, Ms.
22

23   Richards suffered severe physical injuries. These injuries have resulted in significant

24   medical expenses for which Ms. Richards is entitled to compensation.


     COMPLAINT FOR PERSONAL INJURY -4                   SANCHEZ,MITCHELL,EASTMAN & CURE
                                                                   PSC • Attorneys at Law
                                                                4110 Kitsap Way, Suite 200
                                                             Bremerton, Washington 98312-2401
                                                              T 360.479.3000 F 360.479.3983
          Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 5 of 12




 1          5.2    As a direct and proximate result of the negligence alleged herein, Ms.

2    Richards has suffered and will continue to suffer physical pain and suffering, mental
3    and emotional distress, and loss of enjoyment of life, for which Ms. Richards is
4
     entitled to compensation.
5
                                   VI. PRAYER FOR RELIEF
6
            Wherefore, Plaintiff prays:
7
            6.1    For an award of damages in such amount as will fully compensate
8
     Plaintiff for the injuries suffered as a result of the Defendants' negligence, with
9
     amounts to be proven at trial.
10

11          6.2    For an award of Plaintiffs attorney fees and costs herein, in an amount

12   to be proven at trial.

13          6.3    For such other and further relief as the court deems just and equitable.

14

15          DATED this        15 day of September,2021.
16
                                        SANCHEZ,MITCHELL,EASTMAN & CURE,PSC
17

18
                                          Carrie E. Eastman,‘13   -A. No. 40792
19                                        Attorneys for Plaintiff

20

21

22

23

24


     COMPLAINT FOR PERSONAL INJURY -5                    SANCHEZ,MITCHELL,EASTMAN & CURE
                                                                     PSC • Attorneys at Law
                                                                  4110 Kitsap Way, Suite 200
                                                               Bremerton, Washington 98312-2401
                                                                T 360.479.3000 F 360.479.3983
Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 6 of 12




                                                   Exhibit A
  Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 7 of 12




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                                                                               II/26/2866  63:15P
                                          FIRST RKERICAN TITLE INS CEEB $37,80 Kitsap Co, WA


When Recorded Return to:

Kimco Realty Corporation
3333 New Hyde Park Road
New Hyde Park, NY 11042
         NO
                     Space Above Line Provided for Recorder's Use
Document

      SPECIAL WARRANTY DEED

Reference Numbers ofDocuments Assign

      NONE

Grantor(s):

      CT OPERATING PARTNERS111

Grantee(s):

      PKI SILVERDALE S OPP                           .LC

Abbreviated Legal Descrip

      Pol SET 16 TW[11 25                     SW Qtr

      Comple          d                  n page 3 of document

Assessor'       ij             arcel/Account Number(s):

      AP              6-2oo6
      APN      01-3- -2003
      AP i6 0 -067-2002
                    068-2001
                1-3-069-2000
                1-3-071-2006
               01-3-114-2005
             2501-3-115-2004
         : 162501-3-033-2102

                          KITSAP COUNTY TREASURER EXCISE          11/20/2006
                          2006EX10459
                          Total : $618868.11               Clerk's Initial
       Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 8 of 12




RECORDING REQUESTED BY
AND WHEN RECORDED MAIL TO:

3333 New Hyde Park Drive
New Hyde Park, NY 11042

PREPARED BY:

Greenberg Traurig, LLP
77 West Wacker Drive, Suite 2500
Chicago, Illinois 60601


                                 SPEC                         DEED

        THIS INDENTURE                             HAT CT Operating Partnership, L.P., a
California limited partnership, w               0-6 rage A. V.14„cA nal ("Grantor"), for
and in consideration ofthe                    /100 Dollars($10.00) and other good and valuable
consideration in h                         t, adequacy and sufficiency of Which is hereby
acknowledged, by                             MISE, RELEASE, ALIENATE AND CONVEY
unto PK I Silver                          LLC, a Delaware limited liability company, whose
address is                               cerz("Grantee"), the following described real property
located in the                       ,State of Washington and legally described as follows:
                          -111%
                           De ption attached hereto as Exhibit A and hereby
                              ereof.


                          11 and singular the hereditaments and appurtenances thereunto belonging,
Or 1                  rtaining, all the reversion and reversions, remainder and remainders, rents,
is                  thereof, and all the estate, right, title, interest, claim or demand whatsoever, of
                   in law or equity, of, in and to the above described property, with the
             ts and appurtenances: TO HAVE AND TO HOLD said property, with the
             es, unto Grantee, its successors and assigns forever.


                                                                       11           ge,
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                                         FIRST RHERICIIN TITLE
    Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 9 of 12




        And Grantor,for itself, and its successors, does covenant, promise and agree, to and with
Grantee, its successors and assigns, that it has not done or suffered to be done, anything whereby
the property hereby granted is, or may be, in any manner encumbered or charged, except as
herein recited; and that said property against all persons lawfully claiming, or to clai    e same,
by through and under Grantor, but not otherwise, Grantor will WARRANT AND                     END,
subject to: the Permitted Title Exceptions, as described on Exhibit B attached           an hreby
made a part hereof.



Dated: akolcuer       31,                    CT Operating Partnershi
                                             a California limited p
                                              By. Pen Pacific(CTA),




STATE OF (el h -fiprn;e-)
                         )SS.
COUNTY OF 01ein5 X_ )
                         0
       On this ,)--77‘- day o                                  in the year 2006, before me, the
undersigned, a Notary Public                     'd County and State, personally appeared
  ..ibuvt... A_    Vv./50 Ai                  y known to me (or proved to me on the basis of
satisfactory evidence) to be                se name is subscribed to the within instrument, and
acknowledged to Othat                    the same in his authorized capacity, and that by his
signature on th -it . •l    g.
                             ii\        , or the entity upon behalf of which the person acted,
                   1.. :1-,
executed the •. .ilitiolilbo

Signature   foiyh„
      a 'e'ci
                             ed or Printed)
                                                                                    DEBORAH SUE SCHUSTER to
                                                                                     Commission # 138)148
                                                                                   Notary Public - California
                      in and for said County and State                                 Orange County          -
                                                                                  (*Comm.Expires Nov6.20(36




                                                                                           ta0;61310r0405
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all 56561343v2                                11110111111111111111111111111111 11/20/288S 83:15P
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  Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 10 of 12




                                       Exhibit A

Real property in the City of Silverdale, County of Kitsap, State of Washington,
described as follows:

Parcel A:

That portion of the Southwest quarter of the Southwest quarter of
Township 25 North, Range 1 East, W.M., lying Southeasterly of
NW (Kitsap Way)and described as follows:

Commencing at the Southwest corner of said Section 16;
Thence South 88025'10" East, along the South line of s                            er of
the Southwest quarter, a distance of 1306.59 fe            th              corner of
said subdivision;
Thence North 00055152 East along the East                         division, a distance of
50.00 feet to the North right of way line of                      oad, as conveyed to
Kitsap County by   Instrument    Recorded   Augu                   er Recording No.
80082001161 and the true point of beginning;
Thence continue North 00°55'52"            along said Eas line, a distance of 941.11
feet to the Northeast corner of the So          alf of the North half of said
subdivision;
Thence North 88°25'07" West alo                        e of said South half of the
North half of said subdivision, a                   2.00 feet;
Thence South 00°55'52"                             06.30 feet;
Thence North 88°28'07" We                        383.78 feet to the Southeasterly
right of way line of Silver
Thence South 37025110                      aid Southeasterly right of way line a
distance of 255.9 feet         he N. line of the South 576.49 feet of said
subdivision;
Thence So                           ong said North line a distance of 105.06 feet;
Thence                           t a distance of 101.14 feet;
Thence S                    East a distance of 430.55 feet;
Thence So            515      est a distance of 425.39 feet to said North right of
way line                n Hill Road;
Thenc             02 0" East, along said North right of way line, a distance of
572.0               true point of beginning;

                  on conveyed to Kitsap County for Blaine Avenue NW by right of
                rded under Recording No. 3247767;

        cept that portion in Statutory Warranty deed recorded May 13, 2002
        ecording No. 200205130342, in Kitsap County, Washington, described as

                                       111111111111111111111111111111,,:6141 0604.5
                                      1 FIRST ?MICAH TITLE INS   DEED
                                                                                        of
                                                                               11/28/2886 83,I5P
                                                                        $37.89 Kitsap Co, RR
 Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 11 of 12




That portion of the Southwest quarter of the Southwest quarter, Section 16,
Township 25 North, Range 1 East, W.M., in Kitsap County, Washington, lying
Southeasterly of IQtsap Way described as follows:

Commencing at the Southwest corner of Section 16;
Thence North 00043'30" East along the West line of said subdivision
of 387.96 feet to the centerline of Silverdale Way Northwest,

Formerly known as Kitsap Way;
Thence North 37025'10" East along said centerline a distance o            t;
Thence South 88028'07" East a distance of 61.72 feet to                   right
of way line of said Silverdale Way Northwest and the t                    9;
Thence continue South 88028'07" East a distance • 15
Thence South 00055'52" West a distance of 2
Thence North 88025'10" West a distance of
Thence North 52034'50" West a distance of                  d Southeasterly right
of way line;
Thence North 37025'10" East along said South             t of way line distance,
of 143.59 feet to the point of begin

Together with that portion of vacated Si       le Way adjoining or abutting
thereon, which upon vacation, a                   remises by operation of law,
pursuant to Commissioner's Jour                6,Page 505;

Parcel C:

A non-exclusive easem                egress and for the installation and
maintenance of     er I           sewers and utility lines, as reserved in that
document r                        0, under Kitsap County Recording No.
800820011

Parcel D:

A non               I easement for vehicle parking, and pedestrian and vehicle
ingres            s granted in that document recorded October 29, 1993,
under tsap C.0 ty Recording No. 9310290015.



    n-exc usive mutual easement for ingress, egress, parking and utilities, as
        in that document recorded May 13, 2002, under Kitsap County
  cor ing No. 200205130344.



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                                                                       $37.08 Kitsap Co, WA
 Case 3:21-cv-05780-LK Document 1-1 Filed 10/21/21 Page 12 of 12




                           EXHIBIT B to Special Warranty Deed

                                    Permitted Exceptions

                 All covenants, conditions, restrictions and easements ofrecord.




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